    Case 24-10611-MBK            Doc 5-1 Filed 01/24/24 Entered 01/24/24 11:34:06                     Desc OSC
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 24−10611−MBK
                                         Chapter: 13
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Michaele Zitnick
   900 Burcliss St
   Roebling, NJ 08554
Social Security No.:
   xxx−xx−5053
Employer's Tax I.D. No.:


                       ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                  DISMISSED FOR FAILURE TO FILE DOCUMENTS OR EXTEND TIME

    The debtor filed a petition on January 23, 2024 but failed to file the following documents required by Fed. R.
Bankr. P. 1007:

         Summary of Assets/Liabilities and Stat Info, Declaration About An Individuals Scheds, Statement of
Financial Affairs For Individuals, Chapter 13 Disclosure of Attorney Compensation (LOCAL FORM), Statement of
Your Current Monthly Income & Calc of Commitment Period(122C−1), Calculation of Your Disposable Income
(122C−2) − If Applicable, Ch. 13 Plan and Motions (LOCAL FORM), Schedules A/B,C,D,E/F,G,H,I,J.

     It is hereby ORDERED that:

     The debtor or debtor's attorney must appear at a hearing before the Honorable Michael B. Kaplan on:

     Date: February 26, 2024
     Time: 10:00 AM
     Location: Courtroom 8, Clarkson S. Fisher, U.S. Courthouse, 402 E. State St., Trenton, NJ 08608−1507


     to show cause why the case should not be dismissed.

     If all required documents are filed with the Clerk before the hearing date, this Order to Show Cause will be
vacated and no appearance is required.

     Any motion or other objection that is filed will be considered a Motion for Extension of Time to File Schedules,
Statements, and Other Documents under Fed. R. Bankr. P. 1007(c), and will be scheduled by the court to be heard on
the same date and time as this Order to Show Cause.

      Unless all required documents are filed before the hearing date on this Order to Show Cause, you must appear
at the hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE CASE.

IMPORTANT: Any document filed must be the most recent version of the applicable Official or Local Form.
Please check www.njb.uscourts.gov to find updated forms.




Dated: January 24, 2024
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                                    Michael B. Kaplan
                                    United States Bankruptcy Judge
